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     IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN
                     DISTRICT OF LOUISIANA

                                             )   Civil Action No. 3:18-cv-1421

LAWANDA C. HARRIS                            )

                                             )

                               Plaintiff,    )

v.                                           )

                                             )

THE PRUDENTIAL INSURANCE                     )
COMPANY OF AMERICA
                                             )
Defendants.
                                             )

                                             )

                                             )




COMPLAINT

Plaintiff LAWANDA C. HARRIS through her attorney, G. Gregory Green, for

her Complaint in the captioned action, hereby states and alleges as follows:
PARTIES, JURISDICTION, AND VENUE

  1. Plaintiff LAWANDA C. HARRIS is a citizen and resident of the State of
Louisiana.

 2. Defendant THE PRUDENTIAL INSURANCE COMPANY OF
 AMERICA(hereinafter referred to as PRUDENTIAL ), is a foreign
 corporation authorized to transact business in the State of Louisiana.
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 3. Defendant THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
 Long Term Disability Plan (the "Plan") is an "employee welfare benefit plan"
 within the meaning of the Employee Retirement Income Security Act
 ("ERISA"), 29 U.S.C.A. §§ 1001 to 1461. The Plan is sponsored by THE
 PRUDENTIAL INSURANCE COMPANY OF AMERICA for the benefit of
 certain employees of Kemper Corporation. On information and belief,
 Kemper is named as the administrator of the Plan.


 4. On information and belief, PRUDENTIAL insures benefits under the Plan,
 and is authorized and required to determine claims for benefits under the
 Plan.


 5. Because this action arises under ERISA, this court has original subject
 matter jurisdiction pursuant to 29 U.S.C.A. § 1132(e) and 28 U.S.C.A. §
 1331.


 6. Venue is proper in this District because certain breaches of the Plan, as
 set forth below, took place in this District, because Plan benefits were
 denied to Plaintiff, and because Plaintiff applied for and was denied Plan
 benefits in this District.


 7. At all times pertinent hereto, Plaintiff was employed by Kemper
 Corporation. Throughout her employment, Plaintiff was a participant in the
 Plan.

 8. Plaintiff has suffered from lumbar radiculopathy, disc herniations, residual
 impairment from fusion surgeries, fibromyalgia, and rheumatoid arthritis
 since April 2014. Plaintiff's ability to perform the duties of her occupation as
 a sales agent became progressively more difficult, and she was unable to
 work beginning on October 8, 2014.

 9. Plaintiff received long term disability benefits under the Plan after October
 8, 2014, with said benefits being terminated and appealed in July 2018 by
 submitting to PRUDENTIAL a completed application form, a physician's
 statement, and all other documents as required by them.
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 10. All disability payments to plaintiff under the plan were terminated on
 October 7, 2016.

 11. On July 26, 2018, Plaintiff received a final letter affirming the denial of
 disability benefits under the plan. The basis of the denial was as follows:

 (a) PRUDENTIAL asserted that Plaintiff was not totally disabled under the
 definition provided in the plan.

 (b) PRUDENTIAL asserted that Plaintiff could return to any gainful
 occupation as defined under the plan.

 12. Plaintiff’s application for Social Security Disability benefits was
 approved; this approval was made on the basis that Plaintiff could perform
 no substantial gainful work activity.

 13. Plaintiff has received no disability benefits since LINA denied payment
 of his long term disability benefits.


CLAIM FOR RELIEF

 14. Plaintiff incorporates by reference the allegations set forth in paragraphs
 1 through 13 above.

 15. Plaintiff has fulfilled all conditions for receipt of benefits under the Plan,
 and has presented such evidence to PRUDENTIAL as requested and/or
 required.

 16. PRUDENTIAL has wrongfully denied Plaintiff's claim for benefits under
 the Plan. PRUDENTIAL an/or its contractual administrator, believed to be
 Kemper, has made unsupported factual conclusions, and has misconstrued
 the terms of the Plan, in reaching its determination to deny Plaintiff's claim
 for benefits.

 17. On information and belief, PRUDENTIAL's denial of Plaintiff's claim for
 benefits is a result, at least in part, of the conflict between PRUDENTIAL's
 fiduciary obligations to plan participants when determining claims under the
 Plan, and its interest in maximizing its own profitability. This result of conflict
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 of interest has been demonstrated in a number of ways, including but not
 limited to the following:

 (a) PRUDENTIAL has refused to properly consider information from
 Plaintiff's physicians and from the Social Security Administration that were
 provided to it during the appeals process, which provided detailed
 explanations for the disability suffered by Plaintiff and set forth her various
 disabilities in detail.

 (b) LINA has refused to consider that Plaintiff is incapable of returning to
 her former job as performed at Kemper Corporation, because she is
 incapable of performing any gainful occupation as defined by the policy, and
 has, in fact, been found disabled by the Social Security Administration due
 to her current level of impairment, which by their definition renders Plaintiff
 incapable of performing any substantial, gainful work activity.

 (c) On information and belief, PRUDENTIAL's review of the denial of
 Plaintiff's claim was conducted by the same division of the company which
 denied Plaintiff's initial claim for benefits.

 20. PRUDENTIAL's denial of Plaintiff's claim for benefits is contrary to the
 terms of the Plan and contrary to the evidence and information submitted
 to PRUDENTIAL from multiple medical sources that treated plaintiff.
 PRUDENTIAL's denial of Plaintiff's claim is therefore wrongful.

 21. Plaintiff is entitled to recover benefits under the Plan. Plaintiff is also
 entitled to an Order of the Court clarifying his rights under the Plan,
 adjudging that Plaintiff met the disability requirement of the Plan.

 22. Plaintiff has incurred, and will continue to incur, attorneys' fees, costs
 and expenses in bringing and prosecuting this action. Plaintiff entitled to an
 award of such attorneys' fees, costs and expenses pursuant to 29 U.S.C.A.
 § 1132(g).

WHEREFORE, Plaintiff prays that the Court enter judgment in his favor, and
against Defendants, as follows:

 (a) By entering judgment requiring PRUDENTIAL to pay Plaintiff all benefits
 due under the Plan, commencing with the first day such benefits were due
 and continuing through the date of judgment;
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 (b) By entering judgment clarifying that Plaintiff has fulfilled all terms and
 conditions of the Plan for receipt of benefits, and that Plaintiff is entitled to
 continue to receive benefit in the absence of evidence supporting the
 conclusion that Plaintiff's condition has changed such that Plaintiff is no
 longer totally disabled;

 (c) By awarding to Plaintiff his attorneys' fees, costs and expenses as
 provided under 29 U.S.C.A. § 1132(g); and

 (d) By awarding such other and further relief as is just and proper.

DATED this 31 day of October, 2018.

Respectfully submitted,
s/G. G. Green
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